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Honourable Claire C. Ceechi,                                                 January16th, 2018
Judge, US District Court
District of New Jersey
Newark, NJ 08608
Re: Michael A. D'Antonio v. Borough of Allendale et al, 2:16-cv-00816- (CCC)
Dear Judge Ceechi:
    As you are ware, this firm represents the plaintiff in the above-referenced action, and I am the

attorney of record for the plaintiff for this matter.

       I am writing in response to the defendants, Bergen County Sheriff's Department's reply to the

plaintiff's Omnibus opposition to the remaining defendants' motions to dismiss. Although the

defendants, Bergen County Sheriff's Department claim that the plaintiff's omnibus opposition to the

defendants' motions to dismiss the plaintiff's Second Amended Complaint does not adequately

address the issue of conspiracy on the basis that the opposition only generally asserts that the

defendants acted in concert. However, the plaintiff's opposition notes that the defendants acted in
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concert to deny the Equal Protection rights guaranteed in the Fourteenth Amendment and the Fair

Housing rights guaranteed in the Fair Housing Act of buyers of African, Latino, and Native American

descent. Moreover, the plaintiff's opposition notes that these remaining defendants acted in concert by

failing to follow the proper procedures for foreclosures; NJ In Rem Tax Laws; failing to properly

carry out the Full Writ of Possession; failing to properly notify the plaintiff regarding the sale and

foreclosure on the property he intended to use to build affordable housing; by submitting false

property transfer cards which allowed the land where the plaintiff intended to build affordable

housing to be sold to the highest bidder without the plaintiff being notified. Furthermore, the

plaintiff's opposition notes that the remaining defendants acted in concert inexplicably rescinded a

permit granted to another developer who owned property adjacent to the land where the plaintiff

intended to build affordable housing; provided false information regarding an endangered species

with the specific intent to cause the land where the plaintiff intended to build affordable housing to be

declared a land not appropriate for building homes; defendants acted in concert by repeatedly enacting

vague laws regarding the zoning and use laws in relation to the property where the plaintiff intended to

build affordable housing, lived, and conducted his business, thus, making it virtually impossible for

potential buyers of African, Latino and Native American descent to purchase homes in the borough of

Allendale which laws were only created only to have an affect on the property which the plaintiff

intended to use to build these affordable homes; that the defendants acted in concert by improperly and

illegally increasing the property taxes in the Borough of Allendale for the purpose of making it

impossible for buyers of African, Latino, and Native American descent to buy homes in the Boroughof

Allendale in violation of the Equal Protection Clause of the Fourteenth Amendment and the Fair

Housing Act.

    Please also note that the plaintiff's omnibus opposition notes that the remaining defendants acted

in concert in that they denied his requests for permits; improperly claimed that the land where the

plaintiff intended to build affordable housing failed to meet the codes of the Borough of Allendale;
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his COAH applications; never declared the property where the plaintiff intended to build affordable

housing non conforming to any codes until the plaintiff began applying for permits to build affordable

homes on the property located at 316 East Allendale Avenue in the Borough of Allendale, County of

Bergen, State of New Jersey; that these actions violated the plaintiff's Fourteenth Amendment Due

Process rights and the Equal Protection and Fair Housing Act rights of buyers of African, Latino, and

Native American descent. Moreover, the omnibus oppositions notes that the remaining defendants

concerted actions were intended to cause harm to buyers of African, Latino, and Native American

descent; their actions were systemic; dictated a pattern and practice of discrimination against buyers of

African, Latino, and Native American descent; that the plaintiff's claims are based on violations of the

US Constitution and federal statues and treatises; that these defendants denied the plaintiff his liberty

without Due Process of law and committed fraud in their capacities as fiduciaries, administrators, local

law enforcement officers, environmentalist, legislatures, and business owners; diverting a tributary on

land in a town nearby where the land where the plaintiff intended to use to build affordable housing

was located which resulted in an eighteen acre lake being placed on the property where the plaintiff

intended to use to build affordable housing; failed to properly levy the property where the plaintiff

intended to build affordable housing; and that all of these as well as many other actions of the

remaining defendants were merely designed to prevent African Americans, Latinos, and Native

Americans from living in the Borough of Allendale in violation of the Fair Housing Act and the Equal

Protection Clause of the Fourteenth Amendment, and to stop the plaintiff from building affordable

housing in the Borough of Allendale. In other words, to keep the Borough of Allendale mainly

Caucasian.

    Plaintiff further notes in his omnibus opposition that the remaining defendants caused the land

where the plaintiff intended to build affordable housing to be flooded and to be declared wetlands;

(t)herefore, making this property inaccessible to build affordable housing and, therefore, making it

nearly impossible for African Americans, Latinos, and Native Americans to live in the Borough of
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Allendale as no affordable housing exists or existed while the plaintiff was repeatedly applying for

permits to build such homes in the Borough of Allendale and Allendale remains over eighty (80)

percent Caucasian; the remaining defendants acted in concert in ensuring that affordable housing

would not be built in the Borough of Allendale by claiming that a large portion of the property which

the plaintiff intended to use to build affordable housing on was owned by the Passiac River Coalition

this land is actually owned by the Borough of Allendale, thus, committing fraud and causing the

plaintiff damage and causing him to rely on this claim to his detriment; all defendants were aware of

the fact that the plaintiff intended to build affordable housing on his property; that the denial of this

building would violate the Fair Housing Act and the Equal Protection Clause of the Fourteenth

Amendment; and that the plaintiff's Due Process rights pursuant to the Due Process Clause of the

Fourteenth Amendment would be denied if the proper procedures for foreclosures notice were not

followed regarding the foreclosure of the property the plaintiff intended to use to build affordable

housing; and the sale of the and adjacent to land where the plaintiff intended to build affordable and to

intentionally and purposefully misrepresent the facts regarding the identity of the actual buyer of this

land which prevented the plaintiff from purchasing the surplus of this land. Thus, all of the remaining

defendants are liable for violating the Fair Housing Act, the Equal Protection Clause of the Fourteenth

Amendment, and the Due Process Clause of the Fourteenth Amendment. This omnibus opposition also

notes that the remaining defendants acted in concert to keep the Borough of Allendale at least over

eighty (50) percent Caucasian; to deny buyers of African, Latino, and Native American descent their

civil rights provided by the Fair Housing Act and the Equal Protection Clause of the Fourteenth

Amendment; that the plaintiff lost his home, income, business, and that the buyers of African, Latino,

and Native American descent were denied their right to live where they choose, thus, they were denied

housing; that the defendants illegally and improperly raised the property taxes in the borough of

Allendale; improperly and illegally denied the plaintiff his requests for permits and his COAH

applications; falsified property transfer cards which prevented the plaintiff from purchasing the surplus
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land which he would have used to build affordable housing; falsified information regarding the

existence of an endangered species on the land where the plaintiff intended to build affordable

housing; failed to follow the proper procedures for foreclosures and sales in the State of New Jersey;

failed to follow the proper procedures regarding New Jersey In Rem Tax Laws; failed to give the

plaintiff a hearing and notice before possessing, and, later selling the land where he intended to build

affordable housing; and that these actions were all done by the remaining defendants jointly or in the

furtherance of other acts to deny buyers of African, Latino, and Native American descent housing in

the Borough of Allendale, County of Bergen, State of New Jersey in violation of the Fair Housing Act

and the Equal Protection Clause of the Fourteenth Amendment. Accordingly, the plaintiff's omnibus

opposition states a claim of conspiracy. See, plaintiff's Omnibus opposition pages 5-40, annexed

hereto as Exhibit A.

    It is therefore, plaintiff's request that all of the remaining defendants, including, the Bergen

County Sheriff's Department's motions for dismissal be denied as the plaintiff has stated claims upon

which relief may be granted against all of the remaining defendants; the plaintiff has made a plain

and short statement regarding the basis for his claims, including his claim of conspiracy; the plaintiff

has established standing to sue; and the plaintiff has established that this Court has subject matter

jurisdiction.

    Plaintiff would also note that the remaining defendants have yet to show that under Rule 12(b) no

genuine dispute exist with regard to material facts in this case at bar; that the remaining defendants

have also failed to controvert the plaintiff's allegations in his Second Amended Complaint in their

replies, thus, this Court should accept the allegations in the plaintiff's Second Amended Complaint as

factual. See, Swiekierwicz, v. Sorena, N.A., 534 US 506, 512 (2002).

    Respectfully submitted,

s/s Antoinette M. Wooten, Esq.
